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                                  Slip Op. 23-

              UNITED STATES COURT OF INTERNATIONAL TRADE


LIST INDUSTRIES, INC.,

                 Plaintiff,

        v.

UNITED STATES,

                 Defendant,
                                           Before: Mark A. Barnett, Chief Judge
        and                                Court No. 21-00521

WEC MANUFACTURING, LLC,
HANGZHOU XLINE MACHINERY &
EQUIPMENT CO., LTD., ZHEJIANG
XINGYI METAL PRODUCTS CO., LTD.,
XINGYI METALWORKING
TECHNOLOGY (ZHEJIANG) CO., LTD.,

                 Defendant-Intervenors.


                                     OPINION

[Sustaining the U.S. Department of Commerce’s remand results]

                                                          Dated: September 28, 2023

Elizabeth C. Johnson, Kathleen Weaver Cannon, and R. Alan Luberda, Kelley Drye &
Warren, LLP, of Washington, DC, for Plaintiff.

Ioana Cristei, Trial Attorney, Commercial Litigation Branch, Civil Division, U.S.
Department of Justice, of Washington, DC, for Defendant. Of counsel were Jesus
Nieves Saenz and Leslie Mae Lewis, Office of Chief Counsel for Trade Enforcement
and Compliance, U.S. Department of Commerce, of Washington, DC.

Camelia C. Mazard and Andre P. Barlow, Doyle, Barlow & Mazard, PLLC, of
Washington, DC, for Defendant-Intervenor WEC Manufacturing, LLC.
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Lizbeth R. Levinson, Brittney Renee Powell, and Ronald M. Wisla, Fox Rothschild LLP,
of Washington, DC, for Defendant-Intervenor Hangzhou Xline Machinery & Equipment
Co., Ltd.

Eugene Degnan and Nicholas Duffey, Morris, Manning & Martin LLP, of Washington,
DC, for Defendant-Intervenors Zhejiang Xingyi Metal Products Co., Ltd. and Xingyi
Metalworking Technology (Zhejiang) Co., Ltd.


       Barnett, Chief Judge: Plaintiff List Industries, Inc. commenced this action

challenging the U.S. Department of Commerce’s (“Commerce” or “the agency”) final

determination in the antidumping duty investigation of certain metal lockers from the

People’s Republic of China. See Certain Metal Lockers and Parts Thereof From China,

86 Fed. Reg. 35,737 (Dep’t Commerce July 7, 2021) (final affirmative determination of

sales at less than fair value) (“Final Results”), ECF No. 28-4, and accompanying Issues

and Decision Mem., A-570-133 (June 28, 2021), ECF No. 28-5. Plaintiff challenged

several aspects of the Final Results, namely, Commerce’s selection of Turkey as the

primary surrogate country, instead of Mexico, as well as the selection of certain

surrogate values, including the selection and calculation of financial ratios. Pl.’s Mot.

For J. on the Agency R., ECF No. 32.

       In List Industries, Inc., the court found that Commerce’s selection of Turkey as

the primary surrogate country was supported by substantial evidence. See List Indus.

Inc., v. United States, Slip Op. 23-83, 2023 Ct. Int’l Trade LEXIS 85, at *28 (CIT May 30,

2023). The court also found that while Commerce properly accounted for certain other

real operating income categories when relying upon Turkish company Ayes Celikhasir

VE CT’s (“Ayes”) financial statements, Commerce’s inclusion of rental income and
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treatment of interest income in calculating Ayes’ profit must be remanded for

reconsideration or explanation. Id. at *19–25. Thus, the court remanded the matter to

Commerce “so that it may reconsider, or further explain, its treatment of Ayes’ ‘incentive

income,’ ‘shipping income,’ ‘rental income,’ and ‘interest income,’ when calculating the

surrogate financial ratios.” Id. at *27.

       On August 23, 2023, Commerce issued its redetermination upon remand in this

case. Final Results of Redetermination Pursuant to Ct. Remand (“Remand Results”),

ECF No. 54-1. 1 Therein, Commerce provided further explanation for its treatment of

“shipping revenue, incentive income, interest income and rental income in the

determination of the selling, general, and administrative (“SG&A”) expense ratio using

Ayes audited financial statements.” Id. at 1.

                          JURISDICTION AND STANDARD OF REVIEW

      The court has jurisdiction pursuant to section 516A(a)(2)(B)(i) of the Tariff Act of

1930, as amended, 19 U.S.C. § 1516a(a)(2)(B)(i) (2018) and 28 U.S.C. § 1581(c)

(2018). The court will uphold an agency determination that is supported by substantial

evidence and otherwise in accordance with law. 19 U.S.C. §1516a(b)(1)(B)(i).

                                           DISCUSSION

       The deadline for any comments in opposition to the Remand Results was

September 22, 2023. See List Indus. Inc., 2023 Ct. Int’l Trade LEXIS 85, at *30. The

deadline has lapsed with no comments in opposition having been filed. Commerce’s



1 The administrative record associated with Commerce’s Remand Results is contained

in both Public and Confidential Remand Records, ECF Nos. 54-2, 54-3.
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Remand Results are uncontested and comply with the court’s remand order for

Commerce to consider or further explain its treatment of Ayes’ various income

categories when calculating the surrogate financial ratios. In the absence of comments

on the Remand Results, there are no further issues for the court to adjudicate.

                                      CONCLUSION

      There being no substantive challenge to the agency’s Remand Results, and that

decision being otherwise lawful and supported by substantial evidence, the court will

sustain Commerce’s Remand Results. Judgment will be entered accordingly.




                                                /s/   Mark A. Barnett
                                                Mark A. Barnett, Chief Judge

Dated: September 28, 2023
      New York, New York
